          Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 1 of 12



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                        :
IGOR BELYAKOV
                                        :

      v.                                : Civil Action No. DKC 2004-4008

                                        :
MICHAEL O. LEAVITT1
                                        :

                               MEMORANDUM OPINION

      Presently        pending    and       ready    for    resolution        in   this

employment discrimination case are: (a) the motion of Defendant

Michael O. Leavitt, Secretary of the United States Department of

Health and Human Services, to dismiss or, in the alternative,

for summary judgment (paper 18); (b) Plaintiff’s motion to file

a surreply (paper 27); and (c) Plaintiff’s request to stay the

court’s      decision    pending     discovery.            The   issues   are      fully

briefed and the court now rules pursuant to Local Rule 105.6, no

hearing being deemed necessary.                For the reasons that follow,

the   court     will    deny     Defendant’s        motion,      and   deny   as    moot

Plaintiff’s motion and request.

I.    Background

      The following facts are either undisputed or viewed in the

light most favorable to Plaintiff.                  Plaintiff Igor Belyakov, a



      1
      Michael O. Leavitt is substituted as Defendant in place of
the former Secretary of the U.S. Department of Health and Human
Services, Tommy G. Thompson. See Fed.R.Civ.P. 25(d)(1).
           Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 2 of 12



U.S.       citizen   of   Russian      origin,     was    employed    by   the    U.S.

Department of Health and Human Services (“HHS”) at the National

Institute of Health (“NIH”) as a staff scientist.                          Plaintiff

alleges       that   he   was    discriminated      against    on    the   basis    of

national        origin.2         Plaintiff       asserts      that     because      of

discrimination he was not promoted to the position of Mucosal

Immunologist, for which he was qualified and had applied.3

       In 2002, the National Institute of Dental and Craniofacial

Research (“NIDCR”), an institute within NIH, advertised two

tenure-track               positions,              one       for       Molecular

Microbiologist/Immunologist and one for Mucosal Immunologist.

On or around October 4, 2002, Plaintiff applied for both jobs.

Two    independent        search      committees    were    formed    to   fill    the

positions.           As   part   of    the   hiring      process,    Plaintiff     was

selected to give a presentation to the search committees, but

was limited to one seminar in which to cover both disciplines

(i.e., molecular microbiology and mucosal immunology).4 On March


       2
      In the complaint, Plaintiff also asserted a claim of age
discrimination that he has since withdrawn. (Paper 22).
       3
      In the complaint, Plaintiff also alleged that because of
discrimination he was not selected for the position of Molecular
Microbiologist/Immunologist and that he was subject to a
discriminatory hostile work environment. Both claims have since
been withdrawn. (Paper 12).
       4   There is some question in the record as to whether members
                                                       (continued...)

                                             2
           Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 3 of 12



17, 2003, Plaintiff gave a forty-five minute seminar covering

both        topics     and    was     interviewed      by     the     Molecular

Microbiologist/Immunologist search committee.5 Plaintiff asserts

that shortly before his seminar, he met with Dr. Tabak, director

of NIDCR, and member of the selection panel for the Mucosal

Immunologist         position.6     Plaintiff    states     that    during   this

meeting, Dr. Tabak asked him about his national origin, and,

after Plaintiff stated he was of Russian origin, commented that

“there are too many Russian scientists at the NIDCR already.”

       On June 26, 2003, Plaintiff received an e-mail from Dr. Wahl

stating that Dr. Tabak decided to discontinue the search for a

Molecular Microbiologist/Immunologist at that time.                     At some

point during the spring or summer of 2003, the search committee



       4
      (...continued)
of both search committees were present at Plaintiff’s seminar or
if only members of the Molecular Microbiologist/Immunologist
committee were in attendance.
       5
       At that time, Dr. Wahl, chief of NIDCR’s Oral Infection
and Immunity Branch, told Plaintiff he would be scheduled for a
separate interview with the Mucosal Immunologist search
committee. On June 27, 2003, Plaintiff sent an e-mail to Dr.
Wahl to remind her about scheduling an interview with the
Mucosal Immunologist search committee. Plaintiff asserts that
Dr. Wahl did not respond. Plaintiff never received an interview
with the search committee.
       6
       Although Plaintiff never clearly specifies Dr. Tabak’s
role in the selection process, Defendant states in his reply
memorandum (paper 26), that Dr. Tabak was part of the selection
panel.

                                         3
        Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 4 of 12



narrowed     the    candidate         pool    for    the     Mucosal     Immunologist

position to Plaintiff and Dr. Chen, a candidate of Chinese

origin who was working as a research fellow for Dr. Wahl at the

time in question.          On September 23, 2003, Dr. Wahl contacted

Plaintiff     to    let   him     know       that   the    search      committee     had

recommended     Dr.    Chen     for    the       position;      that   the   director,

scientific director, and the branch chief concurred in the

decision; and that paperwork had been submitted to appoint Dr.

Chen.     On September 25, 2003, Plaintiff complained about the

selection     process     to     Dr.     Zerhouni,        NIH    Director,    and    Dr.

Gottesman, Deputy Director of NIH.                     Dr. Gottesman contacted

Plaintiff and told him that no tenure-track positions were

approved without his permission, and that he would investigate

Plaintiff’s        claims.       On    January       27,     2004,     Dr.   Gottesman

contacted Plaintiff to let him know that he would be receiving

a memorandum explaining the decision not to hire him.                             In the

memorandum, Dr. Gottesman states that he polled all members of

the search committee, and that they all concluded, based on

Plaintiff’s seminar and references, that he was not “the                            best

qualified candidate for the position.”

    On     February       23,    2004,       Plaintiff       contacted       an    Equal

Employment Opportunity (“EEO”) counselor at the NIH EEO office

regarding his claim.            On March 23, 2004, Plaintiff was given a


                                             4
          Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 5 of 12



Notice of the right to file a discrimination complaint and filed

a   formal     complaint        that    day.        On   May   10,   2004,     Plaintiff

received a letter from HHS dismissing his complaint regarding

the closed Molecular Microbiologist/Immunologist position based

on his failure to state a claim.                     Plaintiff’s claim regarding

the Mucosal Immunologist position was also dismissed because HHS

found      that    the    EEO   counselor          was   not   contacted      within   the

requisite         forty-five      day    time       period.       See    29    C.F.R.    §

1614.105(a)(1). Plaintiff appealed HHS’s decision to the Equal

Employment Opportunity Commission (“EEOC”).                          On September 21,

2004, the EEOC issued a decision affirming HHS’s dismissal of

Plaintiff’s complaint.            The EEOC found that, with regard to both

job positions Plaintiff challenged, he failed to contact an EEO

counselor within the requisite forty-five days.7

      Plaintiff filed a complaint in this court on December 23,

2004, alleging discrimination by Defendant on the basis                                 of

national origin, under Title VII of the 1964 Civil Rights Act

(42   U.S.C.       §     2000e,   et     seq.).          Plaintiff      seeks:    (a)    a

declaratory         judgment       that        Defendant’s        conduct       violated

Plaintiff’s rights; (b) an injunction enjoining Defendant from

      7Whether Plaintiff contacted an EEO counselor within the
requisite time period is not at issue in this case. Defendant
concedes that Dr. Gottesman did not finalize the decision
regarding the Mucosal Immunologist position until late January
2004 and therefore Plaintiff’s EEO contact was timely.

                                               5
        Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 6 of 12



engaging in such conduct in the future; (c) back pay and fringe

benefits and/or front pay and benefits; (d) compensatory and

punitive damages; (e) attorneys’ fees and litigation costs; and

(f) other relief as the court may deem just.

II.    Standard of Review

       It is well established that a motion for summary judgment

will be granted only if there exists no genuine issue as to any

material fact and the moving party is entitled to judgment as a

matter of law.       See Fed.R.Civ.P. 56(c); Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 250 (1986); Celotex Corp. v. Catrett,

477 U.S. 317, 322 (1986).           In other words, if there clearly

exist factual issues “that properly can be resolved only b y a

finder of fact because they may reasonably be resolved in favor

of    either   party,”    then   summary   judgment   is    inappropriate.

Anderson, 477 U.S. at 250; see also Pulliam Inv. Co. v. Cameo

Props., 810 F.2d 1282, 1286 (4th Cir. 1987); Morrison v. Nissan

Motor Co., 601 F.2d 139, 141 (4th Cir. 1987).              The moving party

bears the burden of showing that there is no genuine issue as to

any material fact and that he or she is entitled to judgment as

a matter of law.         See Fed.R.Civ.P. 56(c); Catawba Indian Tribe

of South Carolina v. South Carolina, 978 F.2d 1334, 1339 (4th

Cir. 1992), cert. denied, 507 U.S. 972 (1993).



                                      6
       Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 7 of 12



      When ruling on a motion for summary judgment, the court must

construe the facts alleged in the light most favorable to the

party opposing the motion.            See United States v. Diebold, 369

U.S. 654, 655 (1962); Gill v. Rollins Protective Servs. Co., 773

F.2d 592, 595 (4th Cir. 1985).              A party who bears the burden of

proof on a particular claim must factually support each element

of his or her claim. “[A] complete failure of proof concerning

an essential element . . . necessarily renders all other facts

immaterial.”        Celotex Corp., 477 U.S. at 323.              Thus, on those

issues on which the nonmoving party will have the burden of

proof, it is his or her responsibility to confront the motion

for summary judgment with an affidavit or other similar evidence

in order to show the existence of a genuine issue for trial.

See Anderson, 477 U.S. at 256; Celotex Corp., 477 U.S. at 324.

However, “[a] mere scintilla of evidence in support of the

nonmovant’s        position   will   not     defeat     a   motion   for   summary

judgment.”     Detrick v. Panalpina, Inc., 108 F.3d 529, 536 (4 th

Cir.),     cert.    denied,   522    U.S.    810   (1997).      There      must   be

“sufficient evidence favoring the nonmoving party for a jury to

return a verdict for that party. If the evidence is merely

colorable, or is not significantly probative, summary judgment

may   be   granted.”      Anderson,        477   U.S.   at   249-50   (citations

omitted).

                                        7
        Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 8 of 12



       Defendant has moved to dismiss for failure to state a claim

under    Fed.R.Civ.P.      12(b)(6),    or   alternatively,          for   summary

judgment under Fed.R.Civ.P. 56.              A court considers only the

pleadings when deciding a Rule 12(b)(6) motion.                        Where the

parties present matters outside of the pleadings and the court

considers those matters as here, the court will treat the motion

as one for summary judgment.           See Gadsby by Gadsby v. Grasmick,

109 F.3d. 940, 949 (4th Cir. 1997); Paukstis v. Kenwood Golf &

Country Club, Inc., 241 F.Supp.2d 551, 556 (D.Md. 2003).

III.        Analysis

       There are two methods for proving intentional discrimination

in   employment:    (1)    through     direct   or    indirect   evidence      of

intentional     discrimination,        or    (2)     through   circumstantial

evidence under the three-step, burden-shifting scheme set forth

by the Supreme Court in McDonnell Douglas Corp. v. Green, 411

U.S. 792, 802-05 (1973).        For the first method, an employee may

utilize    “ordinary      principles    of   proof    using    any    direct   or

indirect evidence relevant to and sufficiently probative of the

issue.”     Rhoads v. F.D.I.C., 257 F.3d 373, 391 (4th Cir. 2001)

(internal quotation omitted), cert. denied, 535 U.S. 933 (2002).

In order to overcome a summary judgment motion based upon this

method of proof, the plaintiff “must produce direct evidence of

a stated purpose to discriminate and/or [indirect] evidence of

                                        8
     Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 9 of 12



sufficient    probative    force   to   reflect   a   genuine   issue    of

material    fact.”   Id.    (internal    quotation      omitted).      More

specifically, the plaintiff must provide “evidence of conduct or

statements that both reflect directly the alleged discriminatory

attitude and that bear directly on the contested employment

decision.”    Id. at 391-92 (internal quotation omitted).           If such

evidence is lacking, the plaintiff nevertheless may proceed

under McDonnell Douglas.      See Thompson v. Potomac Elec. Power

Co., 312 F.3d 645, 649 (4th Cir. 2002).

    Plaintiff alleges direct evidence of discrimination that is

sufficient to survive summary judgment.           Prior to Plaintiff’s

seminar    presentation,   Plaintiff    states,   and    the   court   must

accept as true for the purposes of this motion, that Dr. Tabek

asked Plaintiff about his national origin and, upon hearing

Plaintiff’s response, stated that “there are too many Russian

scientists at the NIDCR already.”          In the reply memorandum,

Defendant’s primary argument is that, based on Plaintiff’s “late

disclosure” of Dr. Tabak’s statement, it is “extremely suspect”

and therefore cannot preclude summary judgment.           In considering

a summary judgment motion, however, the court “must draw all

reasonable inferences in favor of the nonmoving party and may

not make credibility determinations or weigh the evidence.”

Williams v. Staples, Inc., 372 F.3d 662, 667             (4th Cir. 2004).

                                    9
     Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 10 of 12



Moreover, contrary to Defendant’s argument, Plaintiff is not

attempting to “create a question of fact” by offering internally

contradictory evidence.      The question of fact is created when

Defendant disputes whether the discriminatory comment was made

and challenges Plaintiff’s veracity.

     In a footnote, Defendant argues that even if the statement

was made, it is “insufficient to establish direct evidence of

discrimination” because it is an isolated remark that was not

related to the selection decision.       Defendant does not deny that

Dr. Tabak was on the selection panel, but implies that because

“numerous officials” were involved in the multiple steps of the

selection process, a comment by the director, Dr. Tabak, cannot

be found to “relate” to the selection decision.             In fact, Dr.

Wahl’s September 23, 2003, e-mail shows that Dr. Tabek played an

active role in confirming the recommendation of the search

committee to hire Dr. Chen and that based on this confirmation

the paperwork was submitted to hire Dr. Chen.          Defendant offers

no evidence to show that Dr. Chen would have been hired even if

the director of NIDCR, Dr. Tabak, had not concurred in the

search committee’s decision.       Defendant’s reliance on Brinkley

v. Harbour Recreation Club, 180 F.3d 598, 608 (4th Cir. 1999), to

support its “isolated remark” argument is misplaced.               In that

case, the Fourth Circuit held that a remark by the female

plaintiff’s   future   subordinate      that   he   would   have   trouble

                                   10
        Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 11 of 12



working       for   a   woman   was   insufficient    to    support     a   sex

discrimination claim, where the decisionmaker ignored the co-

worker’s comment and promoted the plaintiff, and the plaintiff

wasn’t terminated until months later.           Id.   The facts presented

here are easily distinguished.          Plaintiff asserts that directly

before his seminar and interview the director of the institute

to which he applied told him that there were “too many Russian

scientists” working at the institute.            Moreover, the evidence

shows that the director was a member of the selection committee

and later confirmed the search committee’s recommendation to

hire another, non-Russian scientist for the position.

IV.     Conclusion

       For the foregoing reasons, Defendant’s motion to dismiss or,

in    the    alternative,   for   summary   judgment,      will   be   denied.

Accordingly, Plaintiff’s motion to file a surreply and request

to stay the court’s decision pending discovery will be denied as

moot.       A separate Order will follow.



                                            /s/
                                      DEBORAH K. CHASANOW
                                      United States District Judge
Case 8:04-cv-04008-DKC Document 31 Filed 11/22/05 Page 12 of 12
